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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Anthony W. Ishii
United States District Judge
Fresno, California

                                         RE:   FARIAS-LOPEZ, Pedro
                                               Docket Number: 1:04CR05356-08 AWI
                                               PERMISSION TO TRAVEL
                                               OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Colima, Mexico. He is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On November 6, 2006, Pedro Farias Lopez was
sentenced for the offense of 18 USC 1001 and 2, False Statements to a Government
Agency and Aiding and Abetting.


Sentence imposed: Releasee was sentenced to 3 months Bureau of Prisons, 24 months
supervised release, and $100 special assessment fee. His special conditions include
search and seizure, 90 days home detention, and third party disclosure of offense to any
employer concerning commercial truck driving.


Dates and Mode of Travel: Releasee will be traveling by air and his dates of travel is
September 1, 2007 to September 16, 2007.


Purpose: Visit family members.




                                                                                                         R ev. 05/2006
                                           1            T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
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RE:   FARIAS-LOPEZ, Pedro
      Docket Number: 1:04CR05356-08 AWI
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                                   Respectfully Submitted,

                                   /s/ Marlene K. DeOrian

                                 Marlene K. DeOrian
                            United States Probation Officer


DATED:        July 16, 2007
              Fresno, California
              MKD


REVIEWED BY:          /s/ Bruce A. Vasquez
                     Bruce A. Vasquez
                     Supervising United States Probation Officer




ORDER OF THE COURT:




Approved            X                            Disapproved


IT IS SO ORDERED.

Dated:     July 20, 2007                        /s/ Anthony W. Ishii
0m8i78                                    UNITED STATES DISTRICT JUDGE




                                                                                                             R ev. 05/2006
                                             2              T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
